  Case: 1:20-cv-04156 Document #: 311 Filed: 04/12/24 Page 1 of 4 PageID #:14956




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                    )
 DEMETRIUS JOHNSON,                                 )
                                                    )   Case No. 20 cv 4156
        Plaintiff,                                  )
                                                    )   Judge Sara L. Ellis
        v.                                          )
                                                    )   Magistrate Judge Heather K. McShain
 REYNALDO GUEVARA, the ESTATE of                    )
 ERNEST HALVERSON, DARRYL DALEY,                    )
 WILLIAM ERICKSON, JOHN HEALY, and                  )
 the CITY OF CHICAGO                                )
                                                    )
        Defendants.                                 )   JURY TRIAL DEMANDED

             DEFENDANTS HALVORSEN, DALEY, ERICKSON AND HEALY’S
                      MOTION FOR SUMMARY JUDGMENT

       Defendants Halvorsen, Daley, Erickson and Healy by their attorneys, The Sotos Law

Firm, P.C., and pursuant to Fed. R. Civ. P. 56 and L.R. 56.1, respectfully submit this motion for

summary judgment and state:

       1.      This lawsuit arises from Plaintiff’s arrest, prosecution and conviction for the June

12, 1991 murder of Edwin Fred that took place in Chicago’s Humboldt Park neighborhood.

       2.      Plaintiff alleges that Defendants Halvorsen, Daley, Erickson and Healy

(“Movants”) violated his fair trial rights by withholding and fabricating evidence, and used

suggestive identification tactics to obtain identifications of Plaintiff and withheld evidence in

violation of Brady evidence (Count I). Plaintiff further alleges Fourth Amendment unlawful

pretrial detention claims and state law malicious prosecution claims (Counts II and VI), failure to

intervene claims (Count III), federal and state civil conspiracy claims (Counts IV and IX) and

state law claims of intentional infliction of emotional distress and willful and wanton conduct
  Case: 1:20-cv-04156 Document #: 311 Filed: 04/12/24 Page 2 of 4 PageID #:14957




(Counts VII and VIII).

          3.    After extensive discovery, Plaintiff has been unable to develop any credible

evidence supporting his claims against Movants.

          4.    Accordingly, Defendants Daley and Healy seek summary judgment on all

Plaintiff’s claims based on their lack of involvement and knowledge of alleged violations of

Plaintiff’s rights.

          5.    Defendants Erickson and Halvorsen move for summary judgment on all Plaintiff’s

claims because the undisputed evidence reveals Plaintiff lacks sufficient evidence to support his

claims.

          6.    In further support of this motion, Movants rely on their Memorandum of Law in

Support of Summary Judgment and their Rule 56.1 Joint Statement of Undisputed Material Facts.

          WHEREFORE, Movants respectfully request this Court enter an order granting them

summary judgment and for such further relief as the Court deems appropriate.




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  Case: 1:20-cv-04156 Document #: 311 Filed: 04/12/24 Page 3 of 4 PageID #:14958




Dated: April 12, 2024                       Respectfully Submitted,


                                            /s/ Josh M. Engquist
                                            Josh M. Engquist, Atty. No. 6242849
                                            One of the Attorneys for the Individual
                                            Defendants

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  Case: 1:20-cv-04156 Document #: 311 Filed: 04/12/24 Page 4 of 4 PageID #:14959




                                  CERTIFICATE OF SERVICE

        I, Josh M. Engquist, certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that
the foregoing is true and correct, that on Friday, April 12, 2024, I electronically filed the foregoing
Defendants Halvorsen, Daley, Erickson and Healy’s Motion for Summary Judgment with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
attorneys of record on the below Service List.

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                                                       /s/ Josh M. Engquist
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